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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 IOENGINE, LLC,                                    )
                                                   )
                 Plaintiff/Counterclaim            )
                 Defendant,                        )
                                                   )
          v.                                       )   C.A. No. 18-452 (WCB)
                                                   )
 PAYPAL HOLDINGS, INC.,                            )
                                                   )
                 Defendant/Counterclaim            )
                 Plaintiff.                        )   REDACTED - PUBLIC VERSION


  DECLARATION OF TRAVIS JENSEN IN SUPPORT OF PAYPAL’S PROFFER OF
 FACTS AND EVIDENCE IN SUPPORT OF NO PRIVITY/REAL PARTY IN INTEREST
                  BETWEEN PAYPAL AND INGENICO

         I, Travis Jensen, do hereby declare as follows:

         1.     I am an attorney with the law firm of Orrick, Herrington & Sutcliffe LLP, and

counsel of record for Defendant PayPal Holdings, Inc. (“PayPal”).

         2.     Attached to this declaration are true and accurate copies of the following documents,

as cited in PayPal’s Proffer of Facts and Evidence in Support of No Privity/Real Party in Interest

Between PayPal and Ingenico, filed contemporaneously herewith:

 Exhibit       Document
     1         Excerpts from the Pretrial Conference hearing transcript, dated June 13, 2022
     2         Ingenico Inc. v. IOENGINE, LLC, IPR2019-00416, Paper 60 (PTAB Jul. 13,
               2020), Final Written Decision
     3         Ingenico Inc. v. IOENGINE, LLC, IPR2019-00879, Paper 69 (PTAB Sep. 21,
               2020), Final Written Decision
     4         Ingenico Inc. v. IOENGINE, LLC, IPR2019-00929, Paper 53 (PTAB Sep. 21,
               2020) Final Written Decision
     5         Excerpt from PayPal Holdings, Inc. Form 10-K for the year ending December 31,
               2020 (PP0203008)
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 Exhibit    Document
     6      Miura Software Update (PP0030538) [Filed Under Seal]
     7      Email correspondence re MagTek Contract and SDK rights, dated August 16-17,
            2012 (PP0105261) [Filed Under Seal]
     8      MagTek Reader Specifications (PP0057065) [Filed Under Seal]
     9      Email re Mobile + GD PPP for week ending 6/15/2012, dated June 18, 2018
            (PP0104937) [Filed Under Seal]
     10     Partner Agreement between PayPal Pte. Ltd and Miura Systems Limited
            (PP0004406) [Filed Under Seal]
     11     Agreement for the Supply of Card Reader Devices between iZettel Merchant
            Services AB and Datecs Ltd (PP0195064) [Filed Under Seal]
     12     First Amendment to Agreement for the Supply of Card Reader Devices between
            iZettel Merchant Services AB and Datecs Ltd (PP0195060) [Filed Under Seal]
     13     Amendment to Agreement for the Supply of Card Reader Devices between
            iZettel Merchant Services AB and Datecs, Ltd (PP0195088) [Filed Under Seal]
     14     Second Amendment to Agreement for the Supply of Card Reader Devices
            between iZettel Merchant Services AB and Datecs Ltd (PP0195097) [Filed Under
            Seal]
     15     Amendment of Partnering Agreement between PayPal Payments Pte. Ltd and
            Miura Systems Limited (PP0004434) [Filed Under Seal]
     16     Novation of Partnering Agreement between PayPal Pte. Ltd, PayPal Payments
            Pte. Ltd, and Miura Systems Limited (PP0004443) [Filed Under Seal]
     17     Press Release: PayPal Brings PayPal Zettle to the U.S. – Its Digital In-Person
            and Omnichannel Solution (PP0195102)
     18     Excerpts from the deposition transcript of Satish Govindarajan, taken on
            September 28, 2021 [Filed Under Seal]
     19     Excerpts from the 30 (b)(1) deposition transcript of Alex Gromadzki, taken on
            October 20, 2021 [Filed Under Seal]
     20     Roam Data Custom Product Sales Agreement between ROAM Data, Inc. and
            PayPal, Inc. (PP0004560) [Filed Under Seal]
     21     Amendment No. 5 to Custom Product Sales Agreement between ROAM Data,
            Inc. and PayPal, Inc. (PP0028741) [Filed Under Seal]




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 Exhibit      Document
     22       Excerpts from the 30 (b)(6) deposition transcript of Alex Gromadzki, taken on
              October 20, 2021 [Filed Under Seal]
     23       Excerpts from the Summary Judgment and Daubert motions hearing transcript,
              dated June 7, 2022
     24       Settlement Agreement between MobilePay LLC and Ingenico, Inc. (PP0026737)
              [Filed Under Seal]
     25       Excerpts from the Spoliation motion hearing transcript, dated April 6, 2022
     26       PayPal’s Initial Disclosures Under Fed. R. Civ. P. 26(a)(1), dated July 30, 2018
     27       IOENGINE, LLC’s First Notice of Deposition Pursuant to Fed. R. Civ. P.
              30(b)(6) to PayPal Holdings, Inc., dated May 5, 2021 [Filed Under Seal]
     28       Excerpts from a hearing transcript, dated September 29, 2021
     29       PayPal Updated Reader Quantity and Sales (PP1006059) [Filed Under Seal]
     30       Amendment 2 to Custom Product Sales Agreement between ROAM Data, Inc.
              and PayPal, Inc. (PP0004558) [Filed Under Seal]
     31       PayPal Quarterly Business Review Meeting Debrief (PP0184557) [Filed Under
              Seal]
     32       Final Search Terms for Satish Govindarajan
     33       Plaintiff IOENGINE LLC’s Initial Disclosures Pursuant to Fed. R. Civ. P.
              26(a)(1), dated July 30, 2018


       I declare under penalty of perjury that the foregoing is true and correct. Executed on this

1st day of July, 2022.

                                                /s/ Travis Jensen
                                                Travis Jensen




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 1, 2022, I caused the foregoing to be electronically filed with

the Clerk of the Court using CM/ECF, which will send notification of such filing to all registered

participants.

       I further certify that I caused copies of the foregoing document to be served on July 1, 2022,

upon the following in the manner indicated:

 Neal C. Belgam, Esquire                                                VIA ELECTRONIC MAIL
 Eve H. Ormerod, Esquire
 SMITH, KATZENSTEIN & JENKINS, LLP
 1000 West Street, Suite 1501
 Wilmington, DE 19801
 Attorneys for Plaintiff

 Noah M. Leibowitz, Esquire                                             VIA ELECTRONIC MAIL
 Gregory T. Chuebon, Esquire
 DECHERT LLP
 Three Bryant Park
 1095 Avenue of the Americas
 New York, NY 10036-6797
 Attorneys for Plaintiff

 Derek J. Brader, Esquire                                               VIA ELECTRONIC MAIL
 Luke M. Reilly, Esquire
 Michael A. Fisher, Esquire
 Judah Bellin, Esquire
 DECHERT LLP
 Cira Centre
 2929 Arch Street
 Philadelphia, PA 19104-2808
 Attorneys for Plaintiff
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 Michael H. Joshi, Esquire                                  VIA ELECTRONIC MAIL
 DECHERT LLP
 3000 El Camino Real
 Five Palo Alto Square, Suite 650
 Palo Alto, CA 94306
 Attorneys for Plaintiff



                                    /s/ Brian P. Egan

                                    Brian P. Egan (#6227)




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